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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                v.
                                                              CRIMINAL ACTION NO.
JASON HUNTER                                                  24-10090-WGY-1

                      Defendant(s).

                            AMENDED PROCEDURAL ORDER
                RE:    SENTENCING HEARING (In the light of U.S. v.Booker.)

YOUNG, D.J.

      A plea of guilty or nolo contendere, or a verdict of guilty, having been entered on May 1, 2025
                                  under the Sentencing Reform Act of 1984, it is hereby ORDERED:

Pre-sentence Investigation

      1.      a) The United States Probation Office shall commence immediately the pre-
              sentence investigation unless as provided in Fed. R. Crim. Pro. Rule 32(i), the
              court finds under Rule 32 (c) (1)(A) and (B) that the information in the record
              enables it to exercise its sentencing authority meaningfully under 18 U.S.C. § 3553
              and the court explains this finding on the record.

              b)     The Probation Office shall prepare pre-sentence investigation reports in the
              order in which the requests from the court are received.

Statement of Relevant Facts

      2.      Not later than seven days after the plea or verdict (or on 5/8/2025), the attorney
              for the government shall provide to the United States Probation Office a statement
              of relevant facts and any other documents pertinent under Federal Rules of
              Criminal Procedure 32 (d) and shall simultaneously serve on counsel for the
              defendant a copy of everything provided to the Probation Office.

Submission of Information Regarding Identifiable Victims (if applicable)

      3.      Not later than seven days after the plea or verdict (or on 5/8/2025), the attorney
              for the government shall provide to the United States Probation Office a written
              statement setting forth the names of the victims, their contact
              information/addresses, and the amount of loss sustained by each victim/restitution
              owed to each victim pursuant to the Federal Rules of Criminal Procedure, Rule
              32(c)(1)(B).
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Interview of Defendant

      4.     The Probation Office shall provide a reasonable opportunity for defense counsel
             to attend any interview of the defendant conducted by a probation officer during
             the pre-sentence investigation.

             a)      If the case is resolved by a plea, and the Probation Office has timely
             notification of the plea, it shall hold an interview with the defendant on the day of
             the plea. If an interview cannot be held on the day of the plea, the Probation
             Office shall schedule an interview to be held within seven days after the plea or
             within such additional time as the court may order.

             b)      If the case is resolved by a verdict, the Probation Office shall schedule an
             interview with the defendant to be held within seven days after the verdict or within
             such additional period of time as the court may order.

             c)     If the defendant is in custody, the United States Marshal shall, at the request
             of the Probation Office, bring the defendant to the courthouse for an interview at
             the earliest feasible time.

Pretrial Services Responsibility

      5.     Pretrial Services shall provide to the Probation Office all documents in the
             possession of Pretrial Services that may be relevant to the pre-sentence
             investigation, including a copy of the Pretrial Report, the defendant’s state, local,
             and national criminal record, police reports, copies of convictions, drug test results,
             reports of incidents, and other reports and supporting documents.

Date of Sentencing

      6.     The sentencing hearing (and sentencing) is scheduled to occur at 3:00 p.m. on
             July 22, 2025 , in courtroom 18 on the 5th floor. This date is to be not sooner
             than twelve weeks after the date of the plea/verdict, in order to permit the following:

             a)     Probation Office shall have seven weeks after the date of plea/verdict for
             the preparation and disclosure of the initial report.

             b)      Probation Office shall disclose the initial report to defense counsel and
             government counsel no less than five weeks before the sentencing hearing,
             unless the defendant expressly waives the minimum five week pre-sentencing
             notification period.

             c)     The date when disclosure has been effected to each attorney is the date of
             the mailing of a copy to that attorney. An attorney may, in lieu of receiving
             disclosure by mail, make arrangements with the Probation Office to pick up the
             report no later than 3:00 p.m. on the date disclosure is due. It is the responsibility

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            of the defense counsel to disclose the pre-sentence report to the defendant and to
            discuss it with and explain it to the defendant.
Objections Procedure

      7.      Within fourteen days after disclosure of the report, attorneys for the
              government and the defendant shall advise the probation officer and each other in
              writing, of any objections they may have as to any material information, sentencing
              classifications, sentencing guideline ranges, or policy statements contained in or
              omitted from the report.

      8.      The probation officer shall conduct any further investigation and make any
              revisions to the pre-sentence report that may be necessary. The probation officer
              may require counsel for both parties to confer with the probation officer to identify
              and attempt to resolve any factual or legal disputes which may require hearing by
              the court.

Final Pre-sentence Report

      9.      Not later than 7/15/2025 (which is a date not less than seven days before the
              sentencing hearing), the probation officer shall submit to the court and disclose
              to the attorneys the final pre-sentence report, including any addendum, setting
              forth the unresolved objections, the grounds for these objections and the probation
              officer’s comments on the objections. The probation officer shall certify that the
              contents of the report, including any revisions, and the addendum have been
              disclosed to the defendant and to counsel for the defendant and the government,
              and that the addendum fairly states any remaining unresolved objections. Except
              with regard to any unresolved objections, the report of the pre-sentence
              investigation may be accepted by the court as accurate. The court, however, for
              good cause shown, may allow a new objection to the pre-sentence report to be
              raised at any time before the imposition of sentence.

Hearing and Counsel’s obligations

      10.     The Court is to hold a sentencing hearing to resolve any disputed issues.

              a)    Obligations of Counsel:     Not less than five days before the sentencing
              hearing [or such other time as set by the court]

                     (1)    Notice:       Counsel are to advise the Court:

                            (a)    whether either party will move for a departure from the
                                   applicable guideline range or will move for a non guideline
                                   sentence;




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                          (b)    whether apart from (a), there are legal questions not
                                 adequately addressed in the presentence report or not
                                 addressed at all;

                          (c)    whether there are factual issues which the party contend
                                 require an evidentiary hearing.

                   (2)    Memorandum:         Counsel submit a memorandum outlining the
                          legal and factual issues implicated in (1) above. Counsel are also
                          urged to draft memoranda in the form of proposed findings of fact
                          and conclusions of law relevant to the issues described above.

                   (3)    Service on Probation: A copy of the memorandum and any
                          submissions addressing sentencing issues submitted by counsel
                          must also be provided to the probation officer five days in advance
                          of the sentencing hearing.

     11.     The schedule set forth in this Order may be modified by the Court for good cause
             shown.

     12.     Disclosure of the pre-sentence report is made under the provisions of Rule 32,
             Fed. R. Crim. Pro., except that the Probation Office shall not disclose any
             recommendation it made to the court as to sentence. Any such recommendation
             made to the court by the Probation Office must not contain factual information not
             already disclosed to both counsel and to the defendant.



 May 1, 2025                                           /s/ William G. Young
DATE                                                  UNITED STATES DISTRICT JUDGE




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